Casq@j2:23-ap-01173-VZ Docé66 Filed 12/04/24 Entered 12/05/24 12:00:07 Desc
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FILED
1 || EUGENE KIM
> ||453 S SPRING ST STE 400 DEC 04 2024
LOS ANGELES, CA 90013 seed
3 || Tel: 213-800-4989 ENTRAL SistRGZOF CALIFORNIA

4 || APPEARING IN PRO SE

5 UNITED STATES BANKRUPTCY COURT
6 CENTRAL DISTRICT OF CALIFORNIA
7
In re: Case No. 2:21-bk-16403-VZ
8
SPECTRUM LINK, INC.,
9 Debtor. Vs. Chapter 7

Adversary No.: 2:23-ap-01173-VZ

HOWARD M. EHRENBERG, Chapter 7

Trustee,
42 Plaintiff, ACKNOWLEDGEMENT OF
VS. RE-ASSIGNMENT OF JUDGMENT
13
MILLENNIUM MARKETING CCP § 673

CONCEPTS INC., a California
15 corporation, UNITED CARE
RESIDENTIAL, INC., a California
16 |} corporation, and ALEX MUKATHE, an
individual,

Defendants.

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COMES NOW EUGENE KIM, Assignee of Record in this matter, and hereby provides
25 |j the following in support of a RE-ASSIGNMENT OF JUDGMENT:

26 1) THAT the original Judgment was entered on or about 02/22/2024.

2) THAT a judgment was awarded in the sum of $2,350.00. against Defendant

UNITED CARE RESIDENTIAL, INC.

ACKNOWLEDGMENT OF RE-ASSIGNMENT OF JUDGMENT -1-

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3) THAT there have been no renewals since the entry of said judgment by this court and
that Assignee of Record has received $00.00 of judgment from Defendant.

4) THAT Defendant UNITED CARE RESIDENTAIL INC., has a last known address of
8608 PARROT AVENUE, DOWNEY, CA 90240.

5) THAT EUGENE KIM of 453 S SPRING ST STE 400, LA CA 90013 is the Assignee of
Record.

6) THAT I hereby transfer, and re-assign all title rights, and interest in the judgment to
Plaintiff:

HOWARD M. EHRENBERG, CHAPTER 7 TRUSTEE at 1875 Century Park East, Suite
1900, Los Angeles, CA 90067.

7) THAT I hereby revoke authority of Assignee, EUGENE KIM to recover, compromise,

settle and enforce said judgment and I withdraw all rights and claim to the same without recourse.

Signed this 4th__day of December 2024 at Los Angeles, CA

Assignee of Record
EUGENE KIM

ACKNOWLEDGMENT OF RE-ASSIGNMENT OF JUDGMENT -2-

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ALL- PURPOSE
CERTIFICATE OF ACKNOWLEDGMENT

A notary public or other officer completing this certificate verifies only the
identity of the individual who signed the document to which this certificate
is attached, and not the truthfulness, accuracy, or validity of that document.

State of California

County of Los Angeles

On December 4, 2024 before me, Carrie T. Felicitas, Notary Public

personally appeared

EUGENE KIM

(Here Insert name and tille of the officer)

who proved to me on the basis of satisfactory evidence to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that
he/she/they executed the same in his/her/their authorized capacity(ies), and that by
his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that

the foregoing paragraph is true and correct.

WITNESS-my hand and official seal.

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Notary PubteSighature

@

CARRIE T. FELICITAS
COMM. #2410714

Notary Public - California
} Los Angeles County
My Comm. Expires 3 Aug. 9, 2026

~

(Notary Public Seal)

>

ADDITIONAL OPTIONAL INFORMATION

DESCRIPTION OF THE ATTACHED DOCUMENT

Acknowledgment of Re-Assignment of

(Title or description of attached document)

Judgment Adv# 2:23-ap01173-VZ

(Title or description of attached document continued)

Number of Pages 2 Document Date_12/3/24

CAPACITY CLAIMED BY THE SIGNER
O_ Individual (s)
1 Corporate Officer

(Title)
Partner(s)
Attorney-in-Fact
Trustee(s)
Other

2015 Version www.NotaryClasses.com 800-873-9865

&
-

INSTRUCTIONS FOR COMPLETING THIS FORM
This form complies with current California statutes regarding notary wording and,
if needed, should be completed and attached to the document. Acknolwedgents from
other states may be completed for doc ts being sent to that state so long as the
wording does not require the California notary to violate California notary law.

State and County information must be the State and County where the document
signer(s) personally appeared before the notary public for acknowledgment.
Date of notarization must be the date that the signer(s) personally appeared which
must also be the same date the acknowledgment is completed.
The notary public must print his or her name as it appears within his or her
commission followed by a comma and then your title (notary public).
Print the name(s) of document signer(s) who personally appear at the time of
notarization.
Indicate the correct singular or plural forms by crossing off incorrect forms (i.e.
he/she/they- is /are ) or circling the correct forms. Failure to correctly indicate this
information may lead to rejection of document recording.
The notary seal impression must be clear and photographically reproducible.
Impression must not cover text or lines. If seal impression smudges, re-seal if a
sufficient area permits, otherwise complete a different acknowledgment form.
Signature of the notary public must match the signature on file with the office of
the county clerk.

Additional information is not required but could help to ensure this

acknowledgment is not misused or attached to a different document.
% Indicate title or type of attached document, number of pages and date.
> Indicate the capacity claimed by the signer. If the claimed capacity is a
corporate officer, indicate the title (i.e. CEO, CFO, Secretary).

Securely attach this document to the signed document with a staple.

